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      8 Attorneys for Defendant
      9 Carma Laboratories, Inc.

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     11
     12                          UNITED STATES DISTRICT COURT
     13                        CENTRAL DISTRICT OF CALIFORNIA
     14
     15   MICHAEL TURCIOS, on behalf of
          himself and all others similarly situated,   Case No. CV12-8487- JGB (Ex)
     16
     17                                  Plaintiff,    DECLARATION OF PAUL
     18                                                WOELBING IN SUPPORT OF
                vs.                                    CARMA LABORATORIES INC.’S
     19                                                MOTION FOR RULE 11
          CARMA LABORATORIES, INC., a                  SANCTIONS
     20
          Wisconsin corporation,
     21                                                Date: May 6, 2013
                                      Defendant.       Time: 9:00 a.m.
     22                                                Location: Courtroom 1
                                                       Judge: Hon. Judge Jesus G. Bernal
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                                   PAUL WOELBING DECLARATION
                                     Case No. CV12-8487-JGB (Ex)

                                                                                       Woelbing_1
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          1                         DECLARATION OF PAUL WOELBING
          2         I, Paul Woelbing, declare as follows:
          3         1.       I am the current President of Carma Laboratories, Incorporated ("Carma
          4   Labs). I submit this Declaration in support of Carma Lab's Motion for Rule 11
          5 Sanctions. I have personal knowledge of the matters set forth herein, and if called as a
          6   witness, I could competently so testify.
          7         2.       Carmex was invented by my grandfather, Alfred Woelbing, in 1937.
          8   Since that time, Carmex has been sold in the trade dress protected opal white jars with
          9   yellow caps.
         10         3.       From 1937 until 2010, Carmex was sold in its distinctive opal white and
         11   yellow jars.    Although Carma Labs switched from glass to solid plastic in 1996
         12   because it could no longer consistently obtain quality glass, the plastic jars were exact
         13   duplicates of the original glass jars. The interior volume of the container and amount
         14   of product sold remained the same: 0.25 ounces.
         15         4.       In 2010, Carma Labs made the second change to the Carmex jars since
         16   the invention of the product in 1937. In an effort to reduce the amount of plastic used
         17   in the creation of the Carmex jar, Carma Labs increased the concavity of the exterior
         18   bottom of its Carmex container.       This change allowed Carma Labs to reduce its
         19   carbon footprint and reduce costs, while still embracing its distinctive and trade dress
         20   protected shape and continuing to use the assembly line manufacturing unit that is the
         21   backbone of the Carma Labs operation. The interior volume of the container and
         22   amount of product sold remained (and remains) the same as it has always been: 0.25
         23   ounces.
         24         5.       Carma Labs has never sold a larger opal jar containing 0.25 ounces of
         25   Carmex.
         26          6.      Attached hereto as Exhibit A is a true and correct copy of the press
         27   release entitled "Carmex Jar Goes Green" that Carma Labs posted on its website
         28
                                                            1
                                        PAUL WOELBING DECLARATION
                                          Case No. CVI2-8487-JGB(Ex)


                                                                                         Woelbing_2
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          1    promoting its environmentally friendly change to its consumers and retailers. The
          2    announcement promoted the change as part of Carma Labs' "constant[] ... lookout
          3    for ways we can bring Carmex to you in more environmentally-friendly fashions
          4    without compromising our product." Carma Labs assured consumers that it had not
          5    "changed the product or the amount - you still get .25 oz of the same moisturizing lip
          6 balm in each jar. Now there is just less jar."
          7          7.      Carma Labs' website also has a "Frequently Asked Questions'~ ("FAQs")
          8    section, available at http://mycarmex.comlfags, which answers the question "Has the
          9    Shape of the Jar Changed Recently?" with the following explanation:
         10          At Carma Labs, we are constantly on the lookout for ways we can bring
         11
                     Carmex to you in more environmentally-friendly fashions without
                     compromising our product. We were able to make the Carmex jar "greener" in
         12          2010. Don't worry, we didn't change the product or the amount - you still get
                     .25 oz. of the same moisturizing lip balm in each jar. Now, there is simply less
         13          jar. We made the bottom of the jar more concave which uses 20% less plastic in
                     every jar. This small reduction in waste adds up quickly: we will reduce our
         14          plastic use by 70,000 pounds each year! That annual reduction of 35 tons of
         15          plastic also means that. we're saving 35 tons of freight from being shipped
                     which means less fuel will be used.
         16
               A tme and correct copy of Carma Labs' FAQ page is attached hereto as Exhibit B.
         17

         18
                     8.      Carma Labs has received feedback from many long-time, loyal Carmex
         19    consumers thanking us for reducing our environmental impact and for our efforts to
         20    "go green."

         21
                     9.      Many of Carmex's major retailers have demanded that suppliers, like
         22    Carma Labs, undertake such efforts to make their products "greener." For example,
         23    Wal-Mart--one of Carma Labs' largest retailers-released a "Packaging Scorecard"
         24    to Carmex and other suppliers, which set forth its expectation that suppliers would
         25    "us[e] less packaging, utilize[e] more effective materials in packaging, and sourc[e]

         26.
               these more efficiently[.]   A trUe and correct copy of the Wal-Mart''Packaging
               Scorecard" is attached hereto as Exhibit C.
         27

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                                        PAUL WOELBING DECLARATION
                                          Case No. CV12-8487-JGB(Ex)


                                                                                        Woelbing_3
Case 2:12-cv-08487-JGB-E Document 41-1 Filed 04/08/13 Page 4 of 16 Page ID #:400




         1          10.   I believe that Carma Labs' environmental efforts are also consistent with
         2    California's state-wide waste"reduction policies.       It is my understanding thai
         3 Califomi.a promotes itself as a naticinal leader in waste reduction and recycling; and
         4 that the California Department of Resources Recycling and Recovery (CaIRecycie)
         5    encourages companies to adopt environmental policies and to look for ways to reduce
         6 waste.
         7          11.   Carma Labs offers a ful1 refund of the purchase pnce of its .25 oz
         8    Carmex product to any dissatisfied consumer. This offer is advertised on Carmex sold
                                                       .                                         "
         9 in cardboard blister packs, as well as on our website. A true and correct copy of our
        10    money back guarantee is attached hereto as Exhibit D:
        11          I declare under penalty of perjury under the laws of the United States of
        12    America that the foregoing is true and con'ecL
        13
                    Executed this 14th day of March, 20~13;2.
                                                          in Franklin, Wisconsin.. :
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                                                               ~Paul Woelbing

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                                      PAUL WOELBING DECLARATION
                                        Case No. CVI2-8487-JGB(Ex)




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Case 2:12-cv-08487-JGB-E Document 41-1 Filed 04/08/13 Page 5 of 16 Page ID #:401




                                    EXHIBIT A




                                                                          Woelbing_5
Case 2:12-cv-08487-JGB-E Document 41-1 Filed 04/08/13 Page 6 of 16 Page ID #:402




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                                    EXHIBITB




                                                                          Woelbing_7
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                                    EXHIBIT C




                                                                          Woelbing_9
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             '!We CIt Wal~M~rt recognize that we have uniqu~ strE;!:ngths and a unique opportunity to h~\le a po.s;j~ive impact on
              the environment through our own actions, those of our customers, and those of our suppl1er~t :;:a;jd Matt Kistler,
              vice pres1dent of package &. product Innovations for Sam's Club. "As 'vital as ,the packaging Initiative Is to r~achlng
              our environmental goals, it is also very good for our business and .our suppliers' buslness}1

              Wal~Martls packaging scorecard Is a measurement tool that allows suppllers to evaillate them$!'Ilves r'i!latlve to
              other ~uppli~rs, based on specific metrics. The metrics, In the scoreca,rd evolved from a lis~ of fC!vorqlJlfiI a,ttriblltes
              cmnounced earlier this year, known ,,~s the "7 R's of Pillck~gln~": Remove, Re'duce, Rel,lse/ Ret;y<;l_e, Renew,
              Revenl,Je, and Read" Throl,lgh months of c;onsultatIQn~f the Packt;l_9lng $ust~ln~~le V?IIJe. Ne'work, ~ grol,lp' 9f 200
              I~qders In tl'fe global packaging industry, Including suppliers, experts, cmd Inter.n.al an~ external staKeholders,
              Qutlllled the follo~ing metrics for the packaging :;corecard:

                   •    15°/q will be based on GHG I C02_ per ton of Produc.tion
                   •    15 C1/Q will be based on Ma_terial Value
                   •    15°(1;1 will be based on Product I Pack,qge Ratio
                   •    l?o/Q \rilll be based Qn CLlPe Ut\l{;zation
                   •    :LPO/g will be based on Tran~portatio!1
                   ~    ;l.oo/q will be bau;ed on R:ecyclecl Cont~nt
                   •    lOa/II will /Je ba,:;ed on Re:<;:gY~ry Va,ll,Ie
                   •    50/11 'Will be based on Renewa_ble Energy
                   ..   S"f9 will be b?llSIHI on InnQv?ltion

              These criteria are vall.lable tools for sLlpplters to determine how their pa,e;kaglng Innovatlon-s, env!ronment~1
              stcmdards, energy~efficiencreSi and use of materll?lls match up against those oftilelr peers:, Su.ppllers will receIve
              an overall score: relative to other suppliers, as well as relative, scores io eacll ci:lte.gory. For exampl~, a ::!upplier
              may find it is In t;he 50th percentUe In the Cube. Utilization category for effectiv~ly lIsing spa.cei In pallets ~nd
              ~hlpplng <onl.lno", byt thot •• m. 5yppUOr may only 00 In tho 2Qth porc.nW. In R«y<lod <;on\ont. This moo.1
              Qives suppliers the opportunity to fo~us on specific c:hang~Si within the context of a fluid envIronment, d.rlvlng
              Gonstant ch,!'!nge and improvement i~ th~ supply i:haln,

              "The pa;cka~lng scorecard is a great toot for Wal~Mart to run a mcm~- e.ffic:temt byslness, but als.Q has significant
              Qe;nefi~s for ,~~ suppliers/, said 8en Miyares, vice pn1lsideot qf tndu,:;itry ri!l!~~ion:i FQr tt1a P?l<;ki;l,~rn9 M~~hinery
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                                                                                                                                                    Exhibit C
                                                                                                                                                  Woelbing_10
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             www.scorecardlibrary.c;:om. An additional website, www.marketgate.com/packaging, showcasing the Packaging
             Supplier Virtual Trade show, will also go live today to help product suppliers find packaging suppliers who can
             help them make improvements and con!?erve resources more effectively.

             On February 1, 2007, Wal-Mart will share th_e packaging scorecard with its global supply chain of more than
             60,000 suppliers. During a one year trial period, suppliers will be able to input, store and track data, learning and
             sharing their results as desired. As of February 1, 2008, Wal-Mart will begin using the packaging sc::orecard to.
             me,asure and reco.gnize its entire supply chain base'd upon each. company's ability to use less packaging, utilize
             more effective materials in packaging, and source these materials more efficiently relative to other suppliers.

             "We are enco,uraged by the positive response from our suppliers and are looking forward to continuing this
             collaboration," added Kistler. "We have an opportunity to make a -real positive impact and inspire change across
             the packaging industry."

             About Wal-Mart Stores, Inc.
             Wal-Mart Stores, Inc. operates Wal-Mart discount stores, SuperCenters, Neighborhood Markets and SAM'S .CLUB
             locations In the United States. The company has operations in Argentina, Brazil, Canada, China, Costa Rica, EI
             Salvador, Germany, Guatemala, Hondurasl Japan, Mexico, Nicaragua, Puerto Rico and the United Kingdom. The
             cor:npany's securities are listed on the New York Stock Exchange and NYSE Area, formerly the Pacifk Stock
             Exchange, under the symbol WMT. More information about Wal-Mart can be found by visiting
             www.walmartfacts.com.




                                                                                                                                  Exhibit C
                                                                                                                                Woelbing_11
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                                    EXHIBITD




                                                                         Woelbing_12
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                                                          oo
                                                          ::J




                                                                           Exhibit D
                                                                         Woelbing_13
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                                                                           Exhibit D
                                                                         Woelbing_14
Case 2:12-cv-08487-JGB-E Document 41-1 Filed 04/08/13 Page 15 of 16 Page ID #:411




         1                                          PROOF OF SERVICE

         2          I am employed in the County of San Francisco, State of California by a member of the Bar of
         3   this Court, at whose direction this service was made. I am over the age of 18 and not a party to the
             within action. My business address is Four Embarcadero Center, Suite 1200, San Francisco, CA
         4   94111.
                    On March 15,201.3, I served the document(s) described as:
         5
               DECLARATION OF PAUL WOELBING IN SUPPORT OF CARMA LABORATORIES
         6                               INC'S MOTION FOR RULE 11 SANCTIONS
         7   on the parties to this action named on the attached service list by the method described below.

         8          (By Personal Service) I caused a true and correct copy of said document( s) to be served by
                    hand to the addressee(s) on the attached service list, with the name and address of the
         9          person served shown on the envelope.

        10          (By Electronic Transmission) I transmitted a true and correct copy of said document(s) by
                    electronic mail to the offices of the addressee( s) on the attached service list. I did not
        11
               x    receive within a reasonable time after the transmission any message or other indication that
                    the transmission was unsuccessful.
        12
                    (By Facsimile Transmission) I transmitted a true and correct copy of said document(s) by
        13          facsimile to the offices of the addressee( s) on the attached service list. Upon completion of
                    the facsimile transmission, a transmission report was issued showing the transmission was
        14          complete and without error.

        15          (By Overnight Delivery) I enclosed a true and correct copy of said document(s) in an
                    envelope/package provided by an overnight delivery carrier addressed to the addressee(s)
        16          on the attached Service List, sealed it, and placed it for collection and overnight delivery
                    following the ordinary business practices of K&L Gates LLP. I am readily familiar with
        17          K&L Gates LLP's practice of collecting and processing correspondence for overnight
                    delivery. On the same day that correspondence is placed for collection and overnight
        18          delivery, it is collected by an overnight delivery carrier. Delivery fees are pre-paid or
                    provided for in accordance with the ordinary busirtess practices of K&L Gates LLP.
        19
                    (By U.S. Mail) I enclosed a true and correct copy of said document(s) in an envelope
        20          addressed to the addressee( s) on the attached service list and placed it for collection and
                    mailing following the ordinary business practices of K&L Gates LLP. I am readily
        21     X    familiar with the firm's practice of collecting and processing correspondence for mailing.
                    On the same day that correspondence is placed for collection and mailing, it is deposited in
        22          the ordinary course of business with the U.S. Postal Service with postage fully prepaid at
                    San Francisco, California.
        23
        24          Executed on March 15,2013 at San Francisco, California.

        25          I declare under penalty of perjury under the laws of the State of California that the above is
             true and correct.
        26
        27                                                        /s/ Rachel Davidson
                                                                  Rachel Davidson
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         1                                        SERVICE LIST

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                                                    Proof of Service



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